            Case 2:14-cr-00298-LRH-CWH          Document 48       Filed 07/29/15    Page 1 of 1




1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                       ***

4

5     UNITED STATES OF AMERICA,

6                           Plaintiff,                    2:14-cr-00298-LRH-CWH
                                                          ORDER
7     vs.

8     MARTIN MCCLAIN,

9                            Defendant.

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11            Before the court is Defendant's Motion to Modify Conditions of Release (#45).

12            IT HEREBY ORDERED that a hearing on Defendant's Motion to Modify Conditions of Release

13   (#45) is scheduled for 2:30 p.m., August 5, 2015, in courtroom 3D.

14            DATED this 29th day of July, 2015.

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17                                                               CAM FERENBACH
                                                                 UNITED STATES MAGISTRATE JUDGE
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